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                   IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF TEXAS
                            FORT WORTH DIVISION


UNITED STATES OF AMERICA                §
                                        §
vs.                                     §   NO. 4:18-CR-239-A
                                        §
BOBBY CAMPBELL, ET AL.                  §



                      SCHEDULING ORDER FOR SENTENCING

       The court ORDERS that:

     1. The probation officer conduct a presentence
investigation and prepare a presentence report as to BOBBY
CAMPBELL (hereinafter "defendant").

     2.  Should counsel for the defendant desire to be present
for the initial interview between defendant and the probation
officer, counsel arrange to do so within three (3) government
working days from the date this order is signed.

     3. Counsel for United States of America, within five
government working days of the defendant's conviction, deliver to
the probation officer:

            a.   a written report setting out with specificity all
       information possessed by the office of the United States
       Attorney for the Northern District of Texas that is relevant
       to {i) the sentencing of the defendant or (ii) acceptability
       of the plea agreement, if any, including, but not limited
       to:

                   (1) all criminal history of the defendanti
                   (2) all criminal conduct of the defendant
             (whether or not charged) occurring at any timei
                   (3) all statements made by defendant (including
             transcripts that already have been made of recorded
             statements) and all other notes, memos, or other
             writings pertaining to any statement made by defendanti
             and
                   (4) all investigative reports pertaining to the
             offense of conviction and to relevant conducti
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          b.  if the defendant was convicted after trial, a
     written summary of any evidence presented at trial not
     cumulative of the information provided pursuant to 3.a.,
     above, and which is relevant to the sentencing of the
     defendant, including, but not limited to, evidence that the
     defendant obstructed justice and evidence of relevant
     conduct; and

          c.   in any case in which restitution can be ordered
     under 18 U.S.C. § 3663 or 18 U.S.C. § 3663A as a result of
     the defendant's criminal conduct, a written report giving
     the full names of all identified victims of defendant's
     criminal conduct for which restitution can be ordered, the
     amount of loss subject to restitution for each identified
     victim, each identified victim's complete address, and, to
     the extent known to the United States, each identified
     victim's telephone number.

provided, however, that all information provided to the probation
officer pursuant to this paragraph is confidential and for the
exclusive use of that office and this court.

     4.   By December 10, 2018, the government shall deliver to
the probation officer and the parties a laboratory report or
laboratory reports showing the quantity and purity of all
methamphetamine that will be attributable to defendant in the
sentencing process.

     5.   The probation officer shall deliver the presentence
report to the court, and provide copies to the defendant and
counsel for the parties, by 4:00p.m. on December 24, 2018.
Delivery to counsel for a party shall be by electronic submission
if counsel has subscribed to the Electronic Case Files ("ECF")
system of this court.   If counsel for a party is not a subscriber
to this court's ECF system, such counsel, after having been
advised by the U.S. Probation Office of the report's
availability, shall pick up his or her copy of the presentence
report at the U.S. Probation Office between noon and 2:00p.m. on
December 24, 2018; or, if he or she fails to pick up the
presentence report at that time, the probation officer shall mail
a copy thereof to such attorney on December 24, 2018.   The
probation officer shall mail, by 4:00p.m. on December 24, 2018,
a copy of the presentence report to defendant enclosed in an
envelope marked "Legal Mail -- to be Opened Only by or in
Presence of Defendant."

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     6.   Written objections to the presentence report, or
written notice of no objections, be delivered to the court, the
probation officer, and counsel for the parties by 4:00p.m. on
January 7, 2019.

     7.  Each party deliver to the court, the probation officer,
and counsel for the parties a written response to the opposing
party's objections to the presentence report by 4:00p.m. on
January 14, 2019.

     8.  If a request for departure is to be made, it be made by
written motion filed by 4:00p.m. on January 14, 2019.

     9.  If written objections to the presentence report have
been timely delivered, the probation officer deliver an addendum
to the presentence report to the court, and provide copies
thereof to defendant and counsel for the parties, by 4:00p.m. on
January 22, 2019.

     10. Written objections to the addendum be delivered to the
court, the probation officer, and counsel for the parties by
4:00p.m. on January 28, 2019.

     11.  Each party deliver to the court, the probation officer,
and counsel for the parties by 4:00p.m. on February 4, 2019, (i)
a written response to the opposing party's objections to the
addendum, and (ii) any other item the party wishes the court to
consider in connection with sentencing, such as a sentencing
memorandum or character letters.

     12. The sentencing hearing is set for 10:00 a.m. on
February 15, 2019.

     13. The parties be prepared         at the sentencing hearing to
present evidence, arguments, and         legal authorities related to any
factual or legal issues that are         raised by the presentence
report, any addendum thereto, or         any objection to either.

     14. Except as provided above, all motions and responses to
motions any party wishes the court to consider in connection with
any sentencing matter be filed with the Clerk at least ten days
before the date of the sentencing hearing unless leave of court
is granted for late filing.




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     15.  If, during the presentence report investigation, it is
determined that Texas Youth Commission ("TYC") records are
needed, the court orders the TYC to release these records to the
Probation Officer assigned to prepare the presentence report,
acting in the performance of the officer's official duties
pursuant to Fed. R. Crim. P. 32. The specific records that are to
be released include documents pertaining to the defendant's
social history, court disposition records, substance abuse
treatment records, psychological evaluations, other mental health
treatment records, educational records, general health records,
adjustment while incarcerated records, and release dates from the
TYC.

     SIGNED October 26, 2018.




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